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                                   EXHIBITB
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           OccidentaL HoteLs & Resorts offers the fines t aLL-inclusive resorts in Mexico. the Caribbean and Costa Rica, as weLL as exquisite city hoteLs in for the business traveLer
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            OccidentaL Grand Aruba         ALLegro PLayacar
                                           OCCIdentaL Grand Xcaret
                                           Royal Hideaway PLayacar
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